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                             EXHIBIT 2
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                                    May 01, 2018                                ·

     · · · · · · · · · C O N F I N D E N T I A L
     ·1· · · · · · · · ·UNITED STATES DISTRICT COURT
     · · · · · · · · · ·SOUTHERN DISTRICT OF FLORIDA
     ·2· · · · · · · · · · · · MIAMI DIVISION
     · · · · · · · · · · CASE NO.: 1:17-CV-60426-UU
     ·3

     ·4

     ·5· ·ALEKSEJ GUBAREV, XBT HOLDING
     · · ·S.A., AND WEBZILLA, INC.,
     ·6

     ·7· · · · · · · · · · · · Plaintiffs,

     ·8· ·-vs-

     ·9· ·BUZZFEED, INC. AND BEN SMITH,

     10

     11· · · · · · · · · · · · ·Defendant.
     · · ·__________________________________/
     12

     13· · · · · · · · · · · · ·CONFIDENTIAL

     14· · · · · · VIDEOTAPED DEPOSITION OF RAJESH MISHRA

     15

     16

     17· · · · · · · · · · ·Monday, May 1, 2018
     · · · · · · · · · · · 10:08 a.m. - 6:38 p.m.
     18· · · · · · · Black, Srebnick, Kornspan & Stumpf
     · · · · · · · · 201 S. Biscayne Blvd., Suite 1300
     19· · · · · · · · · · · Miami, Florida 33133

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     24· · · · · · · · Stenographically reported by:
     · · · · · · · · · · · · Shari M. Thrasher
     25


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     ·1· · · · 10:38 a.m.
     ·2· · · · Q· ·(BY MR. SIEGEL)· One more question about
     ·3· ·Exhibit 1:· It says for your current job, you list XBT
     ·4· ·Holding and datacenter.com.· What is datacenter.com?
     ·5· · · · A· · Datacenter.com is the company which has the
     ·6· ·reason to construct or get their other data center
     ·7· ·facility like collocation.
     ·8· · · · · · ·COURT REPORTER:· Like what?
     ·9· · · · · · ·WITNESS:· To have collocation.
     10· · · · · · ·COURT REPORTER:· Thank you.
     11· · · · Q· ·(BY MR. SIEGEL)· I'm just curious to why in
     12· ·addition to XBT Holding was -- is datacenter.com a
     13· ·subsidiary of XBT Holding SA?
     14· · · · A· · No.
     15· · · · Q· · It's not?
     16· · · · A· · No.
     17· · · · Q· · What is its relationship?
     18· · · · A· · It has same investor, but on the top of the
     19· ·line, but it's the same.
     20· · · · Q· · So it's a separate company?
     21· · · · A· · Yeah.
     22· · · · Q· · And is the investor Mr. Gubarev?
     23· · · · A· · Yes, one of them.
     24· · · · Q· · Is he the -- more than a 50 percent investor?
     25· · · · A· · Yes.


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     ·1· ·from -- our dedicated server revenue jumped from
     ·2· ·2.4 million in August to 3.5 million, what happened?
     ·3· ·Where did we get all that money from?· How would you
     ·4· ·answer that question?· Would you have to go and look at
     ·5· ·the underlining invoices to try to figure that out?
     ·6· · · · · · ·MR. FRAY-WITZER:· Objection.· You can answer.
     ·7· · · · A· · Yes.
     ·8· · · · Q· ·(BY MR. SIEGEL)· And sitting here today, you
     ·9· ·don't have any idea what the cause of that increase was?
     10· · · · A· · No.
     11· · · · Q· ·(BY MR. SIEGEL)· Let's do the business plan
     12· ·now.
     13· · · · · · ·(Defendant's Exhibit No. 33 was marked for
     14· ·identification.)
     15· · · · Q· ·(BY MR. SIEGEL)· I'll show you what is marked
     16· ·Exhibit 33.
     17· · · · · · ·What is Exhibit 33?
     18· · · · A· · Business plan.
     19· · · · Q· · And is this the business plan that you
     20· ·prepared in or around November 2016?
     21· · · · A· · Yeah.
     22· · · · Q· · Okay.· Now based on what we've already
     23· ·discussed, is it fair to say that the projections in
     24· ·this plan were later updated to take into account the
     25· ·loss of that customer?


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     ·1· · · · A· · Yes.
     ·2· · · · Q· · Okay.· So is this an example of what you do
     ·3· ·every year?
     ·4· · · · A· · In this software --
     ·5· · · · Q· · Yes.
     ·6· · · · A· · -- this is the first year.· Before we were
     ·7· ·doing it in Excel.
     ·8· · · · Q· · Okay.· So when you did it in Exel, was it just
     ·9· ·numbers?· Projections?
     10· · · · A· · Yeah, numbers.
     11· · · · Q· · So this is the first time that you have a lot
     12· ·of the words, a lot of the explanation?
     13· · · · A· · Yes.
     14· · · · Q· · Why did you do that in 2016 for the first
     15· ·time, do your planning that way?
     16· · · · A· · Because we wanted to give it to the -- attract
     17· ·more investor to raise the data equipment and to post
     18· ·other sales.
     19· · · · Q· · And the -- when you had previously just done
     20· ·them on Exel spreadsheets, was that something you shared
     21· ·with investors?
     22· · · · A· · I did.
     23· · · · Q· · You did, okay.· Would it be fair to say, that
     24· ·you thought that this would be a more attractive format
     25· ·to show investors, the way you're doing in 2016?


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     ·1· · · · A· · Yes.
     ·2· · · · Q· · Okay.· Let's go to page 1,050.
     ·3· · · · · · ·You see where it says, who you're listing as
     ·4· ·your direct competitors?· The first one is a company
     ·5· ·called Softlayer.com?
     ·6· · · · A· · Yeah.
     ·7· · · · Q· · What is or was Softlayer.com in November of
     ·8· ·2016?
     ·9· · · · A· · It was IBM.· It was a software in IBM.
     10· · · · Q· · It was -- it had already been purchased by
     11· ·IBM?
     12· · · · A· · I think, yes.
     13· · · · Q· · It was operating as a subsidiary of IMB
     14· ·essentially, is that right, or as you understood it?
     15· · · · A· · Yes.
     16· · · · Q· · But was it -- it was still competing with you
     17· ·as whatever IBM entity it was at the time?
     18· · · · A· · That's what I believe.
     19· · · · Q· · What is Leaseweb.com?
     20· · · · A· · Similar hosting company.
     21· · · · Q· · Okay.· And OVH.com, same thing?
     22· · · · A· · Yeah, hosting company.
     23· · · · Q· · Okay.· And Rackspace.com also, right?· Is
     24· ·Rackspace a little bit different from those other
     25· ·companies?


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     ·1· · · · · · · · · · ·CERTIFICATE OF OATH

     ·2

     ·3· ·STATE OF FLORIDA

     ·4· ·COUNTY OF MIAMI-DADE

     ·5

     ·6· · · · I, SHARI M. THRASHER, Notary Public in and for

     ·7· ·the State of Florida at Large, certify that the

     ·8· ·witness, RAJESH MISHRA, personally appeared before

     ·9· ·me on Tuesday, May 1, 2018, and was duly sworn.

     10

     11· · · · WITNESS my hand and official seal this 9th day

     12· ·of May, 2018.

     13

     14

     15· · · · · · · · · · · ______________________________
     · · · · · · · · · · · · SHARI M. THRASHER, Court Reporter
     16· · · · · · · · · · · Notary No. #GG156912
     · · · · · · · · · · · · Expires: December 17, 2021
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     ·1· · · · · · · REPORTER'S DEPOSITION CERTIFICATE

     ·2

     ·3· · · · I, SHARI M. THRASHER, Court Reporter, certify

     ·4· ·that I was authorized to and did stenographically

     ·5· ·report the deposition of RAJESH MISHRA, the witness

     ·6· ·herein, on MAy 1, 2018; that a review of the

     ·7· ·transcript was requested; and that the foregoing

     ·8· ·pages numbered from 1 to 243 inclusive is a true and

     ·9· ·complete record of my stenographic notes of the

     10· ·deposition by said witness; that the foregoing pages

     11· ·constitute a true and correct transcript of my

     12· ·shorthand notes; and that this computer-assisted

     13· ·transcript was prepared by me and/or under my

     14· ·supervision.

     15· · · · I further certify that I am not a relative,

     16· ·employee, attorney or counsel for any of the parties

     17· ·in this cause nor related to nor employed by any

     18· ·attorney or counsel herein nor financially

     19· ·interested in the outcome of this action.

     20· · · · Dated this 9th day of May, 2018.

     21

     22· · · · · ·_________________________________
     · · · · · · ·SHARI M. THRASHER, Court Reporter
     23

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